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                         Exhibit E
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                                     SERVING SAN DIEGO & ORANGE COUNTIES
                                         http://www.linkedin.com/in/petelepiscopo/
                                        WEBSITE: WWW.LEPISCOPOLAWFIRM.COM

                                                  ORANGE COUNTY
                                                       OFFICE
PETER D. LEPISCOPO, ESQ.                      695 Town Center, 7TH Floor                 OF COUNSEL:
JAMES M. GRIFFITHS, ESQ.                     Costa Mesa, California 92626                SENATOR BILL MORROW, ESQ.
                                              Telephone: (949) 878-9418                  California State Senator-Retire
MARSHALL R. LURTZ, ESQ.                       Facsimile: (619) 330-2991

                                                 September 9, 2021



       TAYLOR T. SMITH, ESQ.                                 Email: tsmith@woodrowpeluso.com
       WOODROW & PELUSO, LLC
       3900 East Mexico Avenue, Suite 300
       Denver, Colorado 80210

       Re:    Erica Reiners v. Chou Team Realty, LLC, et al.
                U.S. District Court for the Central District of California Case No. 2:20-cv-06587


       Dear Mr. Smith:

             RETURN WITHOUT ACTION: 8/9/21 SUBPOENA TO SALES SPEEK, INC.

       On or about September 2, 2021, your client’s 8/9/21 Subpoena to Produce Documents,
       Information, or Objects or to Permit Inspection of Premises in a Civil Action (“Subpoena”)
       directed to Sales Speek, Inc., was served on Mr. Nesheiwat. For your reference a copy of the
       Subpoena is attached hereto and marked as Attachment 1.

       As I previously advised you, Mr. Nesheiwat refused to accept service of any process relating to
       Sales Speek, Inc., an entity that does not exist. Accordingly, Mr. Nesheiwat has no duty to respond
       to the Subpoena, and, therefore, is returning the Subpoena to you (see Attachment 1).

       Sincerely,

       LEPISCOPO & ASSOCIATES LAW FIRM



       Peter D. Lepiscopo



              SAN DIEGO COUNTY OFFICE: 3511 Camino del Rio South, Suite 101 • San Diego, California 92108
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                                  SERVING SAN DIEGO & ORANGE
                                           COUNTIES

                           http://www.linkedin.com/in/petelepiscopo/
                               www.LepiscopoLawFirm.com
  _____________________________________________________________________________________________
                                        SAN DIEGO OFFICE




               ATTACHMENT 1
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